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10                               UNITED STATES DISTRICT COURT
11
                             NORTHERN DISTRICT OF CALIFORNIA
12
                                        OAKLAND DIVISION
13
     IN RE CATHODE RAY TUBE (CRT)                )   MDL NO. 1917
14   ANTITRUST LITIGATION                        )
                                                 )   Case No. 07-cv-5944-JST
15                                               )
     This Document Relates to:                   )   INDIRECT PURCHASER PLAINTIFFS’
16                                               )   ADMINISTRATIVE MOTION FOR
     Indirect Purchaser Class Action             )   PERMISSION TO (1) DISTRIBUTE
17
                                                 )   RESERVE FUND TO CLAIMANTS AND
18                                               )   (2) PAY THE SETTLEMENT
                                                 )   ADMINISTRATOR’S INVOICES
19                                               )
                                                 )
20                                               )   The Honorable Jon S. Tigar
                                                 )
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                                                 )
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          INDIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION FOR PERMISSION TO (1)
      DISTRIBUTE RESERVE FUND TO CLAIMANTS, AND (2) PAY THE SETTLEMENT ADMINISTRATOR’S
                           INVOICES MDL No. 1917; Case No. 07-cv-5944-JST
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 1            Pursuant to this Court’s Order Granting Motion for Order Authorizing Distribution of

 2   Settlement Funds, filed July 29, 2022, ECF No. 6040 (“Distribution Order”), ¶¶ 13 and 14,

 3   undersigned Lead Counsel for the Indirect Purchaser Plaintiffs (“IPPs”) hereby moves the Court

 4   for permission to:

 5            (1) Distribute the unused portion of the $10,000,000 reserve funds to the claimants from

 6               which it was withheld (Distribution Order ¶ 14); and

 7            (2) Pay the Settlement Administrator’s invoices for work performed from June 2022

 8               through July 2023. Id. ¶ 13.

 9   I.       IPPs Request Permission To Distribute The Unused Portion Of The $10,000,000
              Reserve Fund To The Claimants From Which It Was Withheld
10
              In the Distribution Order, the Court “approved the reserve of $10,000,000 of the Net
11
     Settlement Funds, on a pro rata basis, from funds distributed to claimants being awarded $1
12
     million or more, for any contingencies that may arise with respect to claims, to pay for any other
13
     fees or expenses that are authorized by the Court and incurred in connection with administering
14
     the Settlements, as well as any further escrow fees, taxes, and the costs of preparing appropriate
15
     tax returns.” Distribution Order ¶ 14.
16
              The Distribution Order further provided that “[a]ny unused portion of the reserve funds
17
     shall be distributed to the claimants from which it is withheld when authorized by the Court
18
     following a subsequent motion for distribution.” Id. IPPs now hereby move for permission to
19
     distribute the unused portion of the reserve funds to the claimants from which it was withheld.
20
              The $10,000,000 reserve account was established and managed by the Settlement
21
     Administrator, who disbursed funds when and as directed by IPP Counsel. 1 The Settlement
22
     Administrator provided regular accountings of the reserve account to IPP Counsel. Alioto Decl. ¶
23
     3. IPP Counsel instructed the Settlement Administrator to disburse funds from the reserve account
24

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     1
26    Declaration of Mario N. Alioto In Support of Administrative Motion for Permission to (1)
     Distribute Reserve Fund to Claimants, and (2) Pay Settlement Administrator’s Invoices (“Alioto
27   Decl.”) ¶ 2.
28                                                1
             INDIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION FOR PERMISSION TO (1)
         DISTRIBUTE RESERVE FUND TO CLAIMANTS, AND (2) PAY THE SETTLEMENT ADMINISTRATOR’S
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 1   to pay 2022 taxes, 2023 estimated taxes, accounting fees, and escrow fees for the Qualified

 2   Settlement Fund (“QSF”). Id. ¶ 4. The total amount in the reserve account as of January 31, 2024,

 3   net of disbursements and including interest, was $9,461,749.11. Id. ¶ 5. Interest continues to

 4   accrue. Id.

 5            IPP Counsel requests permission to reserve $105,000 of this amount to pay additional 2023

 6   taxes and the accounting fees associated with filing the 2023 tax returns for the QSF, and to

 7   distribute the remaining amount to the claimants from which it was withheld. Id. ¶ 6.

 8            As for 2024 taxes and fees, IPP Counsel requests permission to reserve the interest accrued

 9   or to be accrued in 2024 on the reserve account funds and other QSF monies (e.g., the residual to

10   be distributed to late claimants pursuant to Distribution Order ¶ 8e.) to pay these 2024 taxes, the

11   accounting fees associated therewith, and any other expenses incurred by the QSF. Id. ¶ 7.

12   II.      IPPs Request Permission To Pay The Settlement Administrator’s Invoices

13            The Distribution Order provided that $600,000 be withheld from the settlement funds to

14   cover costs associated with The Notice Company’s remaining tasks:

15
              The Notice Company’s estimate that its remaining work from June 1, 2022 to the
16            completion of final distribution will cost approximately $600,000 is reasonable, and
              the Court orders that $600,000 be withheld on a pro rata basis from the Chunghwa
17            Net Settlement Fund and the Net Settlement Funds for the other settlements.
18

19   Distribution Order at ¶ 13. Pursuant to this provision, the Settlement Administrator withheld

20   $600,000 from the settlement funds and placed this amount in a segregated, interest-bearing

21   account (the “Administration Fund”).2 To date there have been no disbursements from the

22   Administration Fund. The total amount available in the Administration Fund as of January 31,

23   2024, including interest, was $621,178.43. Fisher Decl. ¶ 3. Interest continues to accrue.

24

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26     Declaration of Joseph M. Fisher In Support of Administrative Motion For Permission to (1)
     Distribute Reserve Fund to Claimants, and (2) Pay the Settlement Administrator’s Invoices
27   (“Fisher Decl.”), ¶ 3.
28                                                2
             INDIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION FOR PERMISSION TO (1)
         DISTRIBUTE RESERVE FUND TO CLAIMANTS, AND (2) PAY THE SETTLEMENT ADMINISTRATOR’S
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 1          Pursuant to paragraph 13 of the Distribution Order, IPPs request permission to pay the

 2   Settlement Administrator’s invoices totaling $509,822.06 work performed from June 2022 through

 3   July 2023. During this time, the Settlement Administrator:

 4          a) Issued check payments to 143,099 class members who filed valid claims, representing

 5              an aggregate payment amount of $410,129,476.32.

 6          b) Issued incentive payments to the 25 Court-appointed class representatives and 15

 7              named plaintiffs totaling $450,000 (ECF No. 6046).

 8          c) Established and monitored a positive-pay system with the issuing bank to assure that

 9              every check presented for payment is verified prior to the release of funds to protect

10              against fraud.

11          d) Validated and updated addresses through the Address Change Service (ACS) and

12              National Change of Address Linkage (NCOALink) service of the U.S. Postal Service for

13              all check recipients, resulting in updated addresses for 10,794 claimants.

14          e) Responded to requests from approved claimants to reissue check payments.

15          f) Followed up on 11,458 checks returned as undeliverable by using third-party address

16              searches.

17          g) Completed a recency update through an additional third-party vendor, identifying

18              updated addresses for over 18,406 claimants after disbursement began.

19          h) Reissued over 22,500 settlement checks.

20          i) Disbursed funds, when and as directed by Class Counsel, from the $10,000,000 reserve

21              account established and maintained pursuant to the Distribution Order at ¶ 14.

22          j) Maintained and continues to maintain active email accounts and toll-free phone lines

23              dedicated to receiving and responding to inquiries from members of the Settlement

24              Class and their representatives.

25   Fisher Decl. ¶ 4.

26          IPP Counsel has reviewed the Settlement Administrator’s invoices and believes that the

27   fees and expenses incurred were necessary and reasonably incurred in administering the

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          INDIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION FOR PERMISSION TO (1)
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 1   Settlements and distributing the settlement funds to claimants, especially considering the large

 2   number of claimants and the significant number of issues relating to address changes, returned

 3   checks, and reissuing of checks that the Settlement Administrator had to work through. Alioto

 4   Decl. ¶ 8.

 5          The Settlement Administrator is currently working on distributing the residual funds in

 6   accordance with Distribution Order ¶ 8(e). Fisher Decl. ¶ 6. Once that distribution is complete, the

 7   Settlement Administrator will prepare a final accounting of the Settlement Funds. Id.

 8          Payment of the Settlement Administrator’s currently outstanding invoices from the

 9   Administration Fund would leave a net balance of $111,356.37. Id. ¶ 7. Amounts remaining in the

10   Administration Fund are sufficient to pay for the estimated remaining administration work as

11   described above. Id.

12                                                 Respectfully submitted,

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     Dated: February 26, 2024                      By: /s/ Mario N. Alioto
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                                                   Lead Counsel for Indirect Purchaser Plaintiffs
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          INDIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION FOR PERMISSION TO (1)
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